Case

:23-ap-01173-VZ Doc 44 Filed 07/31/24 Entered 07/31/24 15:44:39 Desc
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EUGENE KIM-ASSIGNEE OF RECORD FILED
453 S SPRING ST STE 400
LOS ANGELES CA 90013 JUL 3.4 2024

. BANKRUPTCY COURT
STRICY OF CALIFORNIA
Deputy Clerk

APPEARING IN PRO SE uERY

UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA
HOWARD M. EHRENBERG, CHAPTER7  ) Case No 2:21-bk-16403-VZ
TRUSTEE )
) Adversary No 2:23-ap-01173-VZ
)
Plaintiff
y ) REQUEST FOR ORDER FOR
)
) SERVICE OF PROCESS BY
MILLENNIUM MARKETING CONCEPTS )
INC., a California corporation, REGISTERED PROCESS SERVER
UNITED CARE RESIDENTIAL, INC., a
California corporation, and FRCP 4.1(a) and 69
ALEX MUKATHE, an individual, ) [No Hearing Required]
)
)
Defendant )

Eugene Kim Assignee of Record, according to Federal Rules of Civil Procedure 4.1 (a) and 69,
Hereby requests that Brenda Martinez Soto, who is California Registered Process Server in good
Standing (Los Angeles Reg. #2022 248 268), who is at least 18 years of age, of suitable discretion
And not a party to the within action, be authorized and appointed to serve writs and all additional
Process required in the above case, to the extent permitted by law. The U.S. Marshal’s office will

Remain the levying officer.

Dated this 30" day of July 2024

Ping

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Eugene Kim

Signed at Los Angeles California.

REQUEST FOR ORDER FOR SERVICE OF PROCESS BY REGISTERED PROCESS SERVER

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